                     Case 4:10-cr-00160-WTM-GRS Document 415 Filed 05/15/15 Page 1 of 1
A0247 (10/11) Order Regarding Motion for Sentence Reduction Pur s uant Iola u.s.c. § 3532(c)(2)                                  Page 1 of (Page 2 Not for Public Disclosure)




                                                                UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                             Savannah Division
                        United States of America                                         )


                                         V.                                              )


                                                                                         ) Case No: 4:10-CR-00I
                           Stacey Maurice Powell
                                                                                         ) USMNo: 16214-021
Date of Original Judgment:        March 14, 2011                                         ) Joshua Joseph Campl
Date of Previous Amended Judgment: May 2, 2012                                           ) Defendant ' s Attorney
(Use Date of Last Amended Judgment, if any,)


                                           Order Regarding Motion for Sentence Redsiclioli I5 ursii.tnt to 18 U.S.C. § 3582(e)(2)


        Upon motion of                LI
                               the defendant                      fl
                                                 the Director of the Bureau of Prisons       the court tinder 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I B 1 .I0 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
 FXI DENIED. LI GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
                            issued) of               months is reduced to


                                                     (Complete Parts / and 11 of Page 2 when motion is granted,)




Except as otherwise provided above, all provisions of the judgment dated                             March 14, 2011,       shall remain in effect.
IT IS SO ORDERED,

Order Date:
                                                                                                                 .Judge 'S sig


                                                                                              William T. Moore, Jr.
                                                                                              Judge, U.S. District Court
Effective Date: November 1, 2015                                                              Southern District of Georgia
                          (if dfferent from order dale)                                                        Printed name and title
